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NORTHERN DISTRICT or TEXAS

 

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P e 1 of 25 BLL€ED .
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\ NoRTHERN DISTRICT oF TEXAS JAN ___ ll 200§ \%

 

 

R\ # /.7 91qu DALLAS DIVIsIoN

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By "\

 

 

 

 

 

Hasan Hajmohammad, ) Civ. o. _______D%PH¥:
‘ )
Plaintiff, )
) ORIG[NAL PETITION
v. ) FOR HEARING ON
) NATURALIZATIGN &
Anne K. Barrows, District Director U.S. ) FOR DECLARATORY
Citizenship & Immigration Services; ) RELIEF
Dr. Emilio Gonzalez, Director U.S. )
Citizenship & Immigration Services; )
Michael Chertoff, Secretary Department )
of Homeland Security; Michael B. ) Alien No. A74 651 102
Mukasey, U.S. Attorney General; Robert S. )
Mueller III, Director, Federal Bureau of ) f 1 , w
Investigation (“FBI”), ) 3 "' 0 8 C V o 0 2 1 id Ki
)
Defendants. )
)

 

Plaintiff, by her attorney, tiles this original petition for hearing on naturalization and for
declaratory relief. The petition states the following

l. Plaintiff is an individual and resident of the United States who resides within the
jurisdiction of this Couit. Plaintiff has been a Lawful Permanent Resident of the United States
since May 1, 1998. His application for naturalization has been unlawfully and unreasonably
delayed for more than four years. This Court has subject matter jurisdiction over this action
pursuant to 28 U.S.C. §1331 because PlaintifP s claim arises under the Irnrnigration and
Nationality Act (“INA”), 8 U.S.C. §l 101 et seq., and regulations arising thereunder. 'Ihis Court
also has jurisdiction under 8 U.S.C. §1447§ b) to adjudicate the naturalization application of
Plaintiff because the responsible agency, the United States Citizenship and Imrnigration Services

(“ClS”), has failed to adjudicate the application despite the passage of more than 120 days since

 

Hajmohammad v. Barrows, et. al. - Civ. No.

- Original Petition for Hearing on Naturalization & for Declaratory Relief - Pg. 1

 

 

Case 3:08-cV-OOO21-BD Document 1 Filed 01/04/08 _Page 2 of 25 Pa e|D 2
the date of her naturalization examination This Court also has jurisdiction under 28 .S.C.

§2201 (Declaratory Judginent Act) and 5 U.S.C. §701 et seq. (Administrative Procedure Act).
Tliis Court may grant declaratory and injunctive relief pursuant to 28 U.S.C. §§ 1361 , 2202, and §
U.S.C. §702.

2. Anne Barrows, the Defendant herein, is the District Director of the CIS and is sued herein
in her official capacity and as the officer with responsibility over the processing of the
naturalization application. Defendant, Michael B. Mukasey, as the Attorney General of the
United States, is sued under statute Which confers on the Attorney General the “sole authority to
naturalize persons as citizens of the United States.” Defendant, Dr. Emilio Gonzalez is the
Director of the CIS and is sued herein in his official capacity and as the officer with
responsibility over the processing of the naturalization application Defendant, Michael Chertoff
is the Secretary of the Departrnent of Homeland Security and is sued herein in his oHicial
capacity as the officer with responsibility over the processing of the naturalization application
Defendant, Robert S, Mueller III, is the Director of the Federal Bureau of Investigation (“FBI”),
an agency within the United States Departrnent of Justice (“DOJ”). The FBI performs name
checks and additional background checks on all applicants for naturalization at the request of
CIS. Defendants collectively are responsible for the grant or denial of naturalization applications
Hled within the Dallas CIS district pursuant to 8 U.S.C 81421, 8 U.S.C 31427, 8 CFR
§lOS.l(g)(Z)(ii), 8 CFR 8310.2 and 8 CFR §316.3.

3. Veiiue is proper in this District pursuant to 28 U.S.C. 51391(1)) and 61391( e) because
Defendants are oflicers or employees of agencies of the United States government, acting in their

official capacity under color of legal authority, and a substantial portion of the events and

Hajmoharnmad v. Bairows, et. al. - Civ. No.

 

- Original Petition for Hearing on Naturalization & for Declaratory Relief - Pg. 2

 

 

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omissions giving rise to the claims herein occurred in this District, and all plaintiffs reside in this

District. No real property is involved in this action

4. Plaintiff has been unlawfully deprived of naturalization for over four years because of
unreasonable and extraordinary agency delays. Plaintiff applied for naturalization on June 24,
2003. On March 5, 2004, Plaintiff fulfilled all of the statutory requirements for naturalization
When he passed her naturalization examination Defendants’ agent informed Plaintiff that only
the background checks was pending and that he would be contacted regarding the scheduling of
his oath ceremony. Thereafter, Plaintiff has repeatedly sought adjudication of her application
However, Plaintiff has been informed repeatedly that security checks (“name chec ”) are still
pending To date, Plaintiffs application for naturalization has not been adjudicated Plaintiff has
exhausted all administrative remedies available CIS has failed to adjudicate Plaintist
application within 120 days of the date of her naturalization examination as required by law.

5. Plaintiff has been denied his statutory right to naturalize solely because of the
bureaucratic failings and inaction of CIS and the FBI. CIS has delayed the adjudication of
Plaintist naturalization application because it has delegated to the FBI a new form of security
check called a “name check.” The FBI has willfully and unreasonably delayed Plaintif_t’s “name
check” for almost four years. As a result of the agencies’ failure to adjudicate her application for
citizenship, Plaintiff is unable to sponsor immediate relatives. He is also unable to apply for
business benefits reserved exclusively for United States citizens and travel using a United States
passport ln addition, Plaintiff is unable to vote in elections, serve on juries, and enjoy the other
rights and responsibilities of U.S. citizenship

6. Defendants are officials of the two government agencies that have failed to adjudicate

Plaintift’ s naturalization application within the time periods prescribed by law. The exceptionally

Hajmohammad v. Barrows, et. al. - Civ. No.

 

- Original Petition for Hearing on Naturalization & for Declaratory Relief ~ Pg. 3

 

Case 3:08-cV-OOO21-BD Document 1 Filed 01/04/08 Page 4 of 25 Page|D 4
long delays in adjudication are caused by Defendants’ unwillingness to complete in a timely

fashion a background check Despite the fact that Plaintiff has been waiting for almost two years
since passing her naturalization examination Defendants refuse to set any deadlines for
completion of these backgron checks and process Plaintift’s application As a result of this
unreasonable inaction, Defendants are depriving Plaintiff of the rights and benefits of U.S.
citizenship

7. Federal immigration law allows persons who have been residing in the United States as
Lawful Permanent Residents to become United States citizens through a process known as
naturalization A person seeking to naturalize must meet certain requirements, including
demonstrating an understanding of the English language and history and civics of the United
States; a sufficient period of physical presence in the United States; and good moral character. 8
U.S.C. §§1423, l427§a1.

8. Persons seeking to naturalize must submit an application for naturalization to CIS. 8_
U.S.C. §1445. CIS is the agency responsible for adjudicating naturalization applications 8
C.F.R. §100.2. Once an application is submitted, CIS conducts a background investigation of
each naturalization applicant 8 U.S.C. 31446(a); 8 C.F.R. 8335.1. According to CIS regulations,
the background investigation includes a full criminal background check performed by the FBI. 8_
C.F.R. §335.2. After the background investigation is completed, CIS schedules a naturalization
examination at which an applicant meets with a CIS examiner who is authorized to ask
questions and take testimony The CIS examiner must determine whether to grant or deny the
naturalization application 8 U.S.C. §l446t d). CIS must grant a naturalization application if the
applicant has complied with all requirements for naturalization 8 C.F.R. §335.3. Fuitheirnore,

CIS must grant or deny a naturalization application at the time of the examination or, at the

Hajmohammad v. Barrows, et. al. - Civ. No.
- Original Petition for Hearing on Naturalization & for Declaratory Relief - Pg. 4

 

 

Case 3:08-cV-OOO21-BD Document 1 Filed 01/04/08 Page 5 of 25 Page|D 5
latest, within 120 days after the date of the examination 8 C.F.R. §335.3. Once an application is

granted, the applicant is sworn in as a United States citizen

9. Since Septernber 11, 2001, CIS has added, without promulgating any regulation a new
type of background check to the naturalization process, called a “name check.” A “name check”
is a check of FBI records based on the full name of the applicant The “name check” is
conducted by FBI personnel through manual and electronic searches of the FBI’s centralized
records CIS requests the FBI to conduct “name checks” on all applications for naturalization

10. CIS does not adjudicate applications for naturalization until it receives a completed
“name check” from the FBI. Neither CIS nor the FBI impose any time limits for completion of
“name checks.” The FBI claims that CIS determines the order of resolution of the requested
“name checks,” and CIS claims that it cannot ask or require the FBI to complete “name checks”
within any particular timeframe.

11. When CIS fails to adjudicate a naturalization application within 120 days of the
examination the applicant may seek de novo review of the application by a district court §
U.S.C. § 1447§ b ). When the applicant requests district court review, the district court gains
exclusive jurisdiction over the application United States v. Hovsepian, 359 F.3d 1144 (9th Cir.
2004), and it may naturalize the applicant 8 U.S.C. § 1447§ 131.

12. The Administrative Procedure Act requires administrative agencies to conclude matters
presented to them “within a reasonable time.” 5 U.S.C. § 555. A district court reviewing agency
action may “compel agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C. §
10_6_(1). The court also may hold unlawful and set aside agency action that, inter alia, is found to
be: “arbitrary, capricious, an abuse of discretion or otherwise not in accordance with law,”

U.S.C. § 706§ 2 11 Al; “in excess of statutory jurisdiction authority, or limitations, or short of

Hajmohammad v. Barrows, et. al. - Civ. No.
- Original Petition for Hearing on Naturalization & for Declaratory Relief - Pg. 5

 

 

Case_S:OS-cV-OOO21-BD Document 1 Filed 01/04/08 Pa e 6 of 25 Page|D 6
statutory right,” 5 U.S.C. 706 2 C ; or “without observance of proce ure required by law,” §

U.S.C. § 706§ 2 §(D ). “Agency action” includes, in relevant part, “an agency rule, order, license,
sanction relief, or the equivalent or denial thereof7 or failure to act.” 5 U.S.C. §551§ 13 ).

13. The failure of Defendants Barrows, Chertoff and Emilio Gonzalez to adjudicate
Plaintiff’s application for naturalization within 120 days of the date of the naturalization
examination on the basis of “name cheeks,” is in violation of 8 U.S.C. § 1446{d) and 8 C.F.R. §
_SL, violates the Administrative Procedure Act, 5 US.C. 5 555(b); 5 U.S.C. 86 706(1),
706(2)(A). 706(2)(€), 706(2)(D).

14. The failure of Defendants Michael B. Mukasey and Robert S. Mueller to timely complete
“name checks,” with the full knowledge that CIS requires the completion of such “name chec ”
for adjudication of the application for naturalization of plaintiff, violates the Administrative
Procedure Act, 5 U.S.C. 3 555(b); 5 US.C. 55 706(1), 706(2)(A)7 706(2)(€), 706(2)(D).

15. The failure of Defendants to set deadlines for completing “name checks” and to take all
the other reasonable steps necessary to complete the adjudication of the application for
naturalization of plaintiff, violates 8 U.S.C. § 1446(d) and 8 C.F.R. 8 335. and the
Administrative Procedure Act, 5 U.S.C. 5 555(b); 5 US.C. 85 706(1). 706(2)(A), 706(2)(€),
706(2)§121.

16. As a result of Defendants’ actions, Plaintiff has suffered and continues to suffer injury.
Plaintiff seeks declaratory and injunctive relief to require the Defendants to adjudicate her
application for naturalization within the time periods prescribed by law, and ask the Court to
declare the agency delays to be in violation of immigration laws and regulations and laws
governing administrative agency action In addition Plaintiff requests that the Court review her

application de novo and naturalize her as a United States citizen pursuant to 8 U.S.C. § 1447§ b[.

Hajmohammad v. Barrows, et. al. - Civ. No.

 

- Original Petition for Hearing on Naturalization & for Declaratory Relief - Pg. 6

 

 

Case 3:08-cV-OOO21-BD Document 1 Filed 01/04/08 Page 7 of 25 Page|D 7
WHEREFORE, Plaintiff respectfully requests that the Court:

l. Grant the application of Plaintiff, and provide Plaintiff his oath of citizenship, or, in the
alternative, remand and order Defendant CIS to administer the oath of citizenship to Plaintiff
within 30 days or less of the order.

2. Direct Defendant CIS to promptly issue Plaintiff s Certiiicate of Naturalization whether
naturalized by this Court or by Defendant CIS.

3. Award reasonable costs and attorney's fees pursuant to the Equal Access to Justice Act,

and as permitted by equity and any other statute.

4. Grant any and all further relief this Court deems just and proper.

Respectfully Submitted,

/w/\..

Husein A. Abdelhadi

Abdelhadi & Associates, PC
4144 N. Central Expy., Ste. 1210
Dallas, Texas 75219

(214) 219-8803 Tel.

(214) 219-8804 Fax
haa@aalaw.net

ATTORNEY FOR PLAINTIFF

 

Hajmohammad v. Barrows, et. al. _ Civ. No.

- Original Petition for Hearing on Naturalization & for Declaratory Relief - Pg. 7

 

Case 3:08-cV-OOO21-BD Document 1 Filed 01/04/08 Page 8 of 25 Page|D 8

LIST OF ATTACHMENTS
Exhibit Descrz'pli`on
A Copy of Form I-797C Receipt Notice for Application for Naturalization Form N-
400 issued by USINS filed on June 24, 2003.
B Copy of Application for Naturalization Form N-400, filed on lurie 24, 2003.
C Copy of Form N-652, Naturalization lnterview Results.

Hajmohammad v. Barrows, et. al. - Civ. No.
- Original Petition for Hearing on Naturalization & for Declaratory Relief - Pg. 8

 

 

Case 3: 08- -c\/- OOO21- BD Document 1 Filed 01/04/08 Page 9 of 25 Page|D 9
CERTIFICATE OF MERESTED PERSO

Hasan Hajmohammad,
Plaintiff
v.

Anne K. Barrows, District Director U.S.
Citizenship & Immigration Services; Dr.
Ernilio Gonzalez, Director U.S.
Citizenship & Immigration Services;
lVIichael Chertoff, Secretary Department
of Homeland Security; Michael B.
Mukasey, U.S. Attorney General; Robert
S. Mueller III, Director, Federal Bureau
of Investigation (“FBI”),

Defendants.

 

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Civ. No.

ORIGINAL PETITION
FOR HEARING ON
NATURALIZATION &
FOR DECLATORY
RELIEF

Alien No. A74 651 102

The undersigned counsel of record certifies that the following listed persons and entities

as described in the fourth sentence of Rule 28.2.1 have an interest in the outcome of this case.

These representations are made in order that judges of this court may evaluate possible

disqualification or recusal

1. Anne K. Barrows, USDHS, Director of C.I.S., Dallas Distiict - Defendant

2. i\"lichaei B. i\/iu§<asey, USDOJ, Attorney General - Defendant

3. Michael Chertoff, Secretary of the Departrnent of Homeland Security - Defendant

4. Emilio Gonzalez, USDHS, Director7 C.I.S - Defendant

5. Robert S. Mueller HI, Director, Federal Bureau of Investigation (“FBI”) - Defendant

6. Husein A. Abdelhadi - Counsel for Plaintiff

7. Hasan Hajmohammad _ Plaintiff

l/\/\/

 

Husein A. Abdelhadi
Attorney for Plaintiff

 

Case 3:08-cv-OOO21-BD Document 1 Filed 01/04/08 Page 10 of 25 Page|D 10

Case 3: 08- -c\/- OOO21- BD Document 1 Filed 01/04/08 Page 11 of 25 Pa_g_e|D 11 j

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PAYMENT INFOKMA.TION

 

 

 

 

 

 

 

 

 

 

 

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your personal information listed above and immediately notify our oliic __ at the address or pho_

 

 

 

 

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* INS Aptphcaf` on _Suppori Cen_te¢'(ASC) so they eha be submitted to' the Federal Bureau of l vesti tr f

check. =lf_ we 'r _ ivr__:d your apphl¢ation without a fingerprint card“(`FD-QSS), or your fingerprim_ c'ard was recexycd c or after §
DccemberB `_ ` ',"l ' ' ' ` ' ' ' ")_ '§_ _ l g_e`rpml)ts taken ti:r:liywl '

 

 

 

 

 

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' separate y bo"ut any’ other cases you maj have filed / _.

filing information or 1138 forms,

her questions about possil`)l
l ' ali the NCSC TDD at 1~800-767*1 833/'

you are he_a `n`g impaired please c

_lfyouhave adech to_ the hilemet,)ou oanalso , " _» " j gov Her<;you can find valuab”le inforrna _ mahon
and about }gen al immigration servic` and benefits At 'resen'i; this site does notpr‘ovide case status infomiatie`

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Case 3:08-cv-OOO21-BD Document 1 Filed 01/04/08 Page 12 of 25 Page|D 12

 

Case 3:08-cv-OOO21-BD Document, 1 Filed 01/04/08 Page 13 of 25 Page|D 13

U.S.Department of Justice y _ t .OMB No. 1115~0009
immigration and Namranzaaon service Application for Naturalization
_____________________________________________

Print clearly or type your answers using CAPITAL letters. I"ailure to print dear!y may delay your applicatioo. Use black or blue ink.

 

 

 

Write your INS "A"- number here:
A 074 651 102

 

 

 

A. Your_curreot legal name. .
ramny Name (Lasr Name) ` ron iNS UsE oNLY

 

 

 

 

HAJMOHA“HAD ' Bar Code Date Stamp
Giveo Name (First Name) y Full Middlc Name (]f applicable)
Hasan Ahmad

 

 

 

 

 

B. Your name exactly as it appears on your Permanent Resident Card.

..-¢.-¢¢._.

Family Name (Last Name)

 

 

 

 

Remarks
HAJMO_HAMMAD
Given Name (I"irst Name) Full Middle Name (If applicable)
Hasan';;; ' A'

 

 

 

 

C. If you have ever:f:used other names, provide them below.

 

Family Name (Last Name) Given Name (First Name) Middle Name
' NoNE

 

 

 

 

 

 

 

D. Name change (optional)
Plcase read the Instructions before you decide whether to change your name. _

1. Would you like to legally change your name? § Yes m No

2. If "Yes," print the new name you would like to use. Do not use initials or _______________________
abbreviations when writing your new name. , Acdon

Family Name (Lasl Name)

 

 

 

 

HUMRAN
Given Naxne (First Name) Full Middle Name
Hassan Ahmad

 

 

 

j

 

 

 

 

 

 

lam at least 18.years old AND
A. § I have been a Lawful Perrnanent Resident of the United States for at least 5 years.
B.E 1 have been a Lawful Pernianent Resident of the United States for at least 3 years, AND

l have been married to and living with the same U.S. citizen for the last 3 years, AND
my spouse has been a US. citizen for the last 3 years. `

C.[:] I ain applying on the basis of qualifying military servioe.

D. l:l other (lese explain

 

 

Form N-400 (Rev. 05/31/01)N

 

 

l Case 3:08-cV-00021-BD Document 1 Filed 01/04/08 l Page 14 of 25 Page|D 14

 

 

 

 

, Write your INS "A"- number here:
A 074 651 102

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A. Social Security Number _ B. Date of Birth (Month/Day/ Year) v, C. Date You Became a Permanent Rcsident (Month/Day/ Year) `
632~09-0181 ' 03124[1961 t 05/01[1998

D. Couotry of Birth E. Conntry~of Nationality
JORDAN . JQRDAN

F. Are either of your parents U>.S. citizens? (ifyes, see Instructions) m Y'es y § No y ,

G. What is your current marital status? y m Single,_Never Married m Married m Divorced l m Widowed

 

- n Marriage Annulled or Cther (Explain)
'H. Are you requesting a waiver of the English and/ or U.Sr History and Government

requirements based on a disability or impairment and attaching a Form N-648 with your E Yes , g No
application? t

I. Are you requesting an accommodation to the naturalization process because of a ,
disability or impairment? (See Instmctions far some examples of accommodations.) m Y€S ' § NO _

lf you answered ;;'Yes", check the box below that applies:

m l am deaf or hearing impaired and need a sign language interpreter who uses the following language: ______________________-

[] vl use a wheelchair.

m I am blind or sight impaired.

 

m I will need another type of accommodation Please explain:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A. Home Address - Street Nurnber and Narue (Do NOT write a P.O. Box in this space) g , Apartment Number
2912 Laramie St.
Ci!Y v CO“ny ` n State ZIP Code Country
mva oALLAs ' Tx ` '.rsosz o u.sA
B. Care of Mailing Addrcss - Street Numl_)er and Name (If differentfrom home address) Apartment Number
city ~ ' state l er code country
C. Daytime Phone Nurnber (lf any) Evening Phone Number (If`any) E-mail Address (If any)
(972 ) 659-1429 _ `(214 ) 215-2885 fitth£$an@yah°°.¢°m

 

 

 

 

 

 

 

 

Forrn N-400 (Rev. 05/31/01)N Page 2

 

 

Case 3:08-cv400021-BD Documentl Filed 01/04/08 Pagel§ of 25 Page|D15

 

 

g Write your INS "A”~ number here:
A 074 651 102

 

 

 

 

 

 

Note: The categories below are those required by the FBI. See Instrnctions for more information

 

 

 

 

 

 

 

 

A. G¢rrd¢r 'B. might c. weight
E Mal€ m Femal€ 5 I-`eet 5 Inches 175 Ponnds
D. Race

El White [:] Asian or Pacific Islander m Black m American indian or Alaskan Native g Unltnown

E. Hair color

§] mack , I:I Browrr [:I meade many , f:ly white m R¢d m sandy [:] Baia (No Hair)

F. Eye color c 2

E'Brown m Blue~ g Green § Ha_zel m Gray g Black m Pink m Maroon m Other

[P wm ._»'f' t ,
A. Where have you lived during the last 5_ years? Begin with where you live now and then list every place you lived for the last 5 years.
lf you need more space, use a separate sheet of paper. (s“’*tumt) f

    

 

 

   

ndEmployment

 

 

Dates (Month/ Year)

From v . To

 

Street Number and Name, Apartment Number, City, State', Zip Code and Country v

 

Current Home Address - Same as Part 4.A ' 1 , 021-1998 _ , Presem

 

 

 

 

 

 

 

 

 

B. Where have you worked (or,'if you were a student, what schools did you attend) during the last 5 years? include military service.
Begin with your current or latest employer and then list every place you have worked or studied for the last 5 years. lf you need more

space, usc a separate sheet of paper.

 

 

 

 

 

 

t : Dates (Month/ Year)

Employer or Employer or School Address y Your

School Name (Street, City and State) yFrom To Occupation
J°NES 'NTERNAT'°N*L ON LINE ACCREDITED UNNERS!TY v MASTER DEGREE
UNNERSITY DENVER, COLORADO v 01/2003 PRESENT " “' Studént
ADEA SOLUT\ON 4835 LSJ FWRY #800 y COMPUTER `

DALLAS, TEXAS 75244 U.S.A. 11/2000 12IZQ02 CONSULTANT
ISLAM!C CENTER OF 215 E. GRAWYLER RD. l y 2 REL|GIUOS LEADER
lRVlNG lRVlNG,TX 75061 ' 08/1998 n 10l2000 ' (IMAM)
lsultc TRuST CF NORTH 415 E_ A|RFQRT Fwy ' ' b REuGtOus L£ADER `
l TEXA$ (AHDE) lRVlNG, TEXAS 75062 U.S.A. 02/1997 0811998 (lMAM)

 

 

 

 

 

 

 

 

Form N-400 (Rev. 05/31/01)N Page 3

 

 

Case 3:08-cv-00021-BD Documentl Filed 01/04/08 PaQ-e 1601c 25 Page|D 16 -

 

 

Write your INS "A”- number hcre:
A 074 651 102

 

 

 

 

 

 

 

 

' ` 92 `
A. How many total days did you spend outside of the United States during the past 5 years? ::. days
_ B. How many trips of 24 hours or more have you taken outside of the United States during the past 5 years? , w . trips

C_ List below all the trips of 24 hours or more that you have taken outside of the United States since becoming a Lawful
Permanent Resident. Begin with your most recent trip. If you need more space, use a separate sheet of paper_

 

 

 

 

 

 

 

 

 

 

 

pate You left the Date Yotr Returned to bid rrip Last v ' ~ t _ rotai pays
United States ~ the United States 6 Monttrs or . ` Out Of the
(Me,rth/Day/Year) (Month/Day/Year) Mere? Conntries to which Yotr "rrave\ed united states
. cans/2002 osha/2002 ElYee' K] Ne JoRp_AN, EGYPr 31
04111)2000 ., 04124/2000 [_`_l res EJ Nt, JoRDAN 13
0610211999 osm/1999 [] Y¢s K] No JoRoAN ` 19
05/11/1998 ` 0611411998 [_]Yee El Ne `JoRr.)AN ' » 1 32
|:]vee l:] Ne
L_.lYee Cl Ne
m Yes l:l No
EYes l:l No
' DYes m No
fires l'__..l Ne

 

 

 

 

 

 

 

 

 

 

 

 

 

A. How many times have you been married (including annulled marriages)? If you have .NEVER been married, go to Part 9.

B. lf you are now married, give the following information about your spouse:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l. Spouse's Farnily Name (Last Name) l Given Name (Fir;z Name) Full Middle Name (lf applicable)
KALASH ' b Heyam b _ Abdelrahman

2. Date of Birth (Month/Day/ Year) 1 3. Date of Marriage (Monzh/Day/ Year) 4. Spouse's Social Security Number
02/0111964 0910811982 ` ` XXX-XX-XXXX

5. Home Address -` Street Number and Name 7 ' ' ` ` Apartment Number ,
2912 Laramle Sf.

City ' - state ' er code
lRVlNG v YEXAS ' v t ` 75062

 

 

 

 

 

 

 

 

rem N400 (Rev. 05/31/01)N Page 4

 

Case 3:08-cv-00021-BD Documentl Filed 01/04/08 Page17 of 25 Page|D 17

 

 

 

Write your INS "A”~ number here:
A 074 651 102 ' `

 

 

 

 

 

C. Is your spouse a U.S. citizen? ` m Yes m No

D. lf your spouse is a US. citizen, give the following information:

1.`When did your spouse become a U.S. citizen? ' m At Birth ` l g Other

lf "Other," give the following information:

2.~ Date your spouse hearne a U.S._ citizen 37. Place your spouse became a U,S. citizen (Please see Instruclions)

 

 

 

 

 

 

 

 

City and State

E. lf your spouse is NOT a U.S. citizen, give the following information :

1. Spouse's Country of Citizenship v 2. Spouse's lNS "A"- Number (lf applicable)

 

JoiibAN ~ A _ 014 oss 001

 

 

 

3. Spouse‘s lmmigration Status

 

§ Lawful germane/iit Resident m Cther

 

 

 

 

F lf you were married before, provide the following information about your prior spouse. If you have more than one previous
marriage, use a separate sheet of paper to provide the information requested in questions 1'5 below.

1. Prior Spouse's Family Name (Last Name) Given Name (Fim Name) Full Middle Name (]f applicable)

 

 

 

 

 

 

2. Prior Spouse's lmmigration Status 3.`Date of Marriage (Monrh/Day/ Year) ` 4. Date Marriage Ended (Manzh/Day/ Yeur)
m vs. citizen

 

 

 

 

m Lawful Permanciit Resident _ 5. How Marriage Ended

m Othei'7 ' ' g m Divorce i:i Spouse Died m Othe'r

 

 

 

 

 

 

 

 

G. How many times has your current spouse been married (including annulled marriages)? E):
If your spouse has EVER been married before, give the following information about your spouse 's prior marriage.
If your spouse has more than one previous marriage, use a separate sheet of paper to provide the information requested in questions

1 5 below.

1. Prior Spousc‘s Family Name (Last Name) Given Name (Firsl Name) Full Middle Name (!f applicable,‘

 

 

 

 

 

 

2. Prior Spouse's Immigration Status ` 3. Date of Marriage (Monzh/Day/ Year} 4. Date Marriage Ended (Month/Day/ Year)
ij us. Citizerr

 

 

 

 

m Lawful Permanent Resident 5. How Marriage Ended

m th€r m Divorce g Spouse Died m Other

 

 

 

 

 

 

 

 

` t Ferrrt wooden 05/31/01)N Page 5

 

 

Case 3:08-cv-0002_1-BD Document l Filed 01/04/08 Page 18 Of 25 Page|D 18

 

Write your lNS "A”* number here:
A 074 651 102

 

 

 

 

 

 

A. How many sons and daughters have you had'! For more information-on which sons and daughters

you should include and how to complete this section, see the lnstructions.

B. Provide the following information about all of your sons and daughters lf you need more spaoe, use a separate sheet of paper.

 

_Full Name of Date of Birtlt INS "A"~ number Country of Birth _ Current Address

 

 

 

 

 

 

 

 

Son or Daughter (Month/ Day/ Year) (if child has one) (Slreet, City, State & Country)
Leena Humran ' 2912 Laramie St.
~ 03/02!2000 A NIA U.S.A. lRVlNG, TEXAS 75062 .
Tesneem Humran q f 2912 Laramie St. l
l 03I02/2000 » A NIA U.S.A. lRVlNG, TEXAS75062’
A
A
A
A
A
A

 

 

 

 

 

 

 

 

 

 

f er'"t_lo'. Addltlollal Questions il

Please answer questions 1 through 14. lf you answer "Yes" to any of these questions, include a written explanation with this form. Your
` written explanation should (1) explain why your answer was "Yes," and (2) provide any additional information that helps to explain your
answer-

A. General Questions

l. llave you EVER claimed to be a U.S. citizen (in writing or any other way)? m Yes ENo
2. Have you EVER' registered to vote in any Federal, state, or local election in the United States? ' m Yes ENOy
3. Have you EVER voted in any Federal, state, or local election in the United States? l m Yes g EN<)'
4. Since becoming a Lawful Pernxanent Resident, have you EVER failed to file a required Federal, ' ' y
state, or local tax return? m Yes § No
5. Do you owe any Federal, statc, or local taxes that are overdue? _ l:i Yes ENO
6. Do you have any title of nobility in any foreign country? ` - ` 1 l ` l m Yes EN<)
.7. Have you ever been declared legally incompetent or been confined to a mental institution k
' i:i Yes § No

within the last 5 years?

Form N-400 (Rev. 05/31/01)N Page 6

 

 

 

Write your INS "A"~ number here:
A 074 651 102

 

 

 

 

 

 

B. Afiiliations

8. a. Have you EVER been a member of or associated with any organization, associatiou, fund,
foundation, party, club, society, or similar group in the United States or in any other plaoe? E Yes m N0

b. If you answered ”Yes,” list the name of each group below. lf you need more spaoe, attach the names of the other group(s) on a
separate sheet of paper. 1

 

 

 

 

 

 

 

 

 

Name or Group 1 t Name of Gmup
1_ lsl.Amc cENTER ol= 1vaNG v l 6_ lsLAmlc AssoclArloN ol= NoRTH TExAs
2_` lsLAMlcv`TréusT oF NoRrH TExAs 7_ '
3.. Muerr;hRAB YourH AssoclArloN 8_
4_ lsNA f l g 9.
5, nusLlu'cEMErARv oF'Noer-l rExAs 10_

 

9. Have you EVER been a member of or in any way associated (either directly or indirectly) with:_

a. The Communist Party? ~ l 1 UYes l g No.

b. Any other totalitarian party? ` f y l l m Yes g No

c. A terrorist organization? v 1 ` ~ y ` , m Yes g No
10 Have you EVER advocated (either directly or indirectly) the overthrow of any government

by force or violenoe? m Yes E] No

11. Have you EVER persecuted (either directly or indirectly) any person because of praoe,
religion, national origin, membership in a particular social group, or political opinion? g Yes g No

12. Between March 23, 1933, and May 8, 1945, did you work for or associate in any way (either
directly or indirectly) with: 1

a. The Nazl` government of Germany? i:iYes g No
b. Any government in any area (1) occupied by, (2) allied with, or (3) established with the y ' '
help of the Nazi government of Germarly? g Yes ' E] No

ct Any Gerr'nan, Nazi, or S.S. military unit, paramilitary unit, self-defense unit, vigilante nnit, k
citizen unit, police unit, government agency or office, extermination camp, concentration ' ' .
camp, prisoner of war camp, prison, labor camp, or transit camp'! 1 ' ` g Yes E] No

C. Continnous Residenee

'Since' becoming a Lawful permanent Resident of the United States:

l3. Have you EVER called yourself a "nonresident” on a Federal, state, or local tax return? y EYes § No

1`4. Have you EVER failed to file a Federal, state, or local tax return because you considered
yourself to be a ”nonresident"? g yes g No

Form N-400 (R.ev. 05/31/01)N Page 7

 

 

 

  

Write your lNS ”A"-nulnber here:
A 074 651 102

 

 

 

ona Questi_’ons.. (Canmcd)

 

 

 

D. Good Moral Character

For the purposes of this application, you must answer "Yes" to the following questions, if applicable, even if your records were
sealed or otherwise cleared or if anyone, including a judge, law enforcement offi®r, or attorney, told you that you no longer have a
record. n

15. Have you EVER committed a crime or offense for which you were NO'I"arrcsted? l ~ ' UYes `, m
16. Have you EVER been arrested, cited, or detained by any law enforcement officer l y b -
(including lNS and military officers) for any reason? v g Yes y m
17. Have you EVER been charged with committing any crime or offense? ' y y m Y€S §
18. Have you EVER been convicted of a crime or offense? _ 1 ' 1 g Yes ` §
19. Have you;:EVER been placed in an alternative sentencing or a rehabilitative program ` y l l ry '
(for exam:ple: diversion, deferred prosecution, withheld adjudication, deferred adjudication)? '. m Yes §
20. Have you EVER received a suspended sentence, been placed 011 probation, or been paroled? l m Yes vi m
n 21. Have you:>EVER been in "jail or prison? _ 1 g v _ b v t y EYes q Ei

lf you answered "Yes" to any of questions 15 through 21, complete the following table. lf you need more space, use a separate sheet
of paper to give the same information. '

No

 

dimissed, jail, probation, etc.)

Why were you arrested, cited, Date arrested, cited, Where were you arrested, Outcome or disposition of the `
detained, or charged_? detained, or charged cited, detained or charged? arrest, citation, detention or charge
(Month/ Day/ Year) (Cily, State, Country) (No charges jiled, charges

 

ClTATlON AT DEMONSTRAT|ON 04/10I2002 DALLAS,TEXAS,U.S.A. `DlSMlSSED

 

 

/

 

 

 

 

 

Answer questions 22 through 33, lf you answer "Yes" to any of these questions, attach (1) your written explanation why your answer
was ”Yes,“ and (2) any additional information or documentation that helps explain your answer. ‘

22. Have you EVER: ,
a. been a habitual drunkard? 1 _ ' ` y m Yes

.El
b. been a prostitute, or procured anyone for prostitution’!_ ' . ` 1 UY¢S g
c. sold or smuggled controlled substances, illegal drugs or narcotics? giles E
d. been married to more than one person at the same time? ~ ` iv i:i Yes E]
_ e.-helped anyone enter or try to enter the United States illegally? n q f l EY¢S §
f. gambled illegally or received income from illegal gambling? l UYes y g
g. failed to support your dependents or to pay alimony? ' l m Yes g

23. Have you EVER given false or misleading information to any U.S. government official l y `
while applying for any immigration benefit or to prevent deportation, exclusion, or removal’!y DYes l g

24. Have you EVER lied to any U.S. government official to gain entry or admission into the ' 1 1

United States? n m l Yes E]

Form N-400(Rev. 05/31/01)N Page 8

 

No

No

 

 

 

Case 3:08-cV-OOO21-BD vDocument 1 Filed 01/04/08 Page 21 of 25 PagelD 21

 

Write your lNS "A"- number here:
A 074 651 102

 

 

 

 

 

 

 

E. Rcmoval, Exclusion, and Deportation Proceedings

25. Are removal, exclusion, rescission or deportation proceedings pending against you? g ~ D`Yes ~ m No
26. Have you EVER been removed, excluded, ordeported from the United States? y g Yes E NO
27. Have you EVER been ordered lobe removed, excluded,` or deported from the United 'States? k h y m Yes E]_ No
28. Have you lilka applied for any kind of relief from removal, exclusion, or deportation? g . m Yes § No

F. Military Servlce

- 29. Have you F.VER served in the U.S.-Armed Forces? . - w m Yes g No
30, Have you EVER left the lJnited States to avoid being drafted into the US. Armed Forces? ' i:i Yes g NO
31. Have you EVER applied for any kind of exemption from military service in the U.S. Armed Forces? m Yes m No
32- Have Y°“ EVEll deserted from the U.S. Armed Forces? ' . ' ' " y m Yes -' No

G. Sclective Service‘Registration

33. Are you a male who lived in the United States at anytime between your 18th and 26th birthdays '
in any status except as a lawful nonimmigrant? m Yes

No `
If you answered "NO ", go on to question 34.

If you answered "YES", provide the information below. »

lf you answered "YES", but you did NO'I` register with the Selective Servioe System and are still under 26 years of age, you
l must register before you apply for naturalization, so that you can complete the information below:

Date Registered (Month/Day/Year) [:: ' Selective Service Number E::

If you answered "YES", but you did NOT register with the Selective Service and you are now 26 years old or older, attach a
statement explaining why you did not register. y . »

H. Oatl\ Requirements (See Part 14 for the text of the oath)

Answer questions 34 through 39. lf you answer "No" to any of these questions, attach (l) your written explanation why the answer was
"No" and (2) any additional information or documentation that helps to explain your answer

34. Do you support the Constitution and form of govemment of the United States? g Yes m No
35. Do you understand the full Oath of Allegiance to the United States'.’ d y k 1 n m Yes m NO
36. Are you willing to take the full Oatl; of Allegiance to the United States? l y l v ' EYes m No
37. If the law requires it, are you willing to bear arms on behalf of the United States'.l g Yes i:| No
>38. lf the law requires it, are you willing to perform noncombatant services in the U.S. Armed Forces? ' l E Yes m No
39. If the law requires it, are you willing to perform work of national importance under civilian

direction? ' § Yes m No

Form Name (Rev. 05/31/01)N Page 9

 

 

Case 3:08-cv-00021-BD Documentl Filed 01/04/08 Page 22 of 25 Page|D,22

 

Write your INS "A”¢ number here:
A - 074 651 102

 

 

 

 

 

 

l oertify, under penalty of perjury under the laws of the United States of America, that this application, and the evidence submitted with it, l
are all true and correct. I authorize the release of any information which INS needs to determine my eligibility for naturalization.

Your Signature n ' ' Date (Mon!h/Day/Year)

-HasanHAJuoHAuu/in _A, H¢,$M Ma¥ ')_S..¢S
/ t

 

 

 

 

 

 

 

 

 

 

l declare under penalty of perjury that l prepared this application at the request of the above person The answers provided are based
on information of which I have personal knowledge and/or were provided to me by the above named person in response to the exact
questions contained on this form.

 

 

 

 

 

 

 

 

 

 

Preparer's Printed Name Pr¢parer' s Signature
MarkE.Jacobs v l ' ////%g/Z///~ `
Date (Mon!h/Day/ Year) Preparer s Pirm or Organization Name (If applicable) Preparer' s Daytime Phone Number
/-/' / J/ 'J o j nam E. Ja`cobs P.c. 4972) 2¥3-7788
Preparer's Address - Street Number and Name City State l n Zip Code
5050 Quoruru Droive 140 , Dallas ' k y 1'X 75254

 

 

 

 

 

 

 

 

 

 

Do Not Cornplete Parts 13 and 14 Until an INS Officer Instructs You To Do So

 

  z

I swear (affirm) and certify under penalty of perjury under the laws of the United States of America that I know that the contents of this
application for naturalization subscribed by me, including corrections numbered 1 through vand the evidence submitted by me_
numbered pages 1 through , are true and correct to the best of my knowledge and belief.

 

 

Subscribed to and sworn to (affirmed) before me

 

Officer's Printed Name or Stamp 1 Date (Month/Day/Year)

Complete Signature of Applicant q Officer's Signature

 

 

 

 

 

 

 

 

 

farm

lf your application is approved, you will be scheduled for a public oath ceremony at which time you will be required to take the`following

oath of allegiance immediately prior to becoming a naturalized citizen By signing below, you acknowledge your willingness and ability

to take this oath: , y

l hereby declare, on oath, that i absolutely and entirely renounce and abjure all allegiance and fidelity to any foreign prince, potentate, v
_ state, or sovereignty, of whom or which l have heretofore been a subject or citizen; `

that l will support and defend the Constitution and laws of the United States of Amerim against all enemies, foreign and domestic;
that l will bear true faith and allegiance to the same; ' v

that l will bear arms on behalf of the United States when required by the law;

that I will perform noncombatant service in the Armed Foroes of the United States when required by the law;

that l will perform work of national importance under civilian direction when required by the law; and

that l take this obligation freely, without any mental reservation or purpose of evasion; so help me God. ,

Printed Name Of Appli€ant Complete Signature of Applicant

 

 

 

 

 

 

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Case 3:08-cv-OOO21-BD Document 1 Filed 01/04/08 Page 23 of 25 Page|D 23

 

Case 3:08-cv-OQO2l-BD Documeht`l Filed 01/04/08` Page 24 of 25 Page|D 24

u_s_ Departrnent or nomeiand security Naturalization Interview Results ‘

Citizenship and lmmigration Services

 

y_A)'=»€ 074 '65'/ ` yca ~

On` . MAR 0 3 mobil ,.you`were interviewed by USCIS Officer Douglas Bush v

Mpassed the tests of English and U.S. history and governments , g _, . /, l v v
m You passed the test of U.S history and government and the English language requirement was waived. 7
l:] The Service has accepted your request for a vDisability Exc_eption. You are exempted from the requirement

` to demonstrate English language ability and/ora knowledge ofU.S. history and government »

' [:] You will be given another opportunity to be tested'on your ability to ' speak/ read / / l

_writeEnglish.' , ,_ 7 7 , . ,_ . _> 1_ . 7 y
[:] You will be given another opportunity to be tested on your knowledge of U.S. history and government
[:[ Please follow the instructions on the Form N~l4.

E] INS will send you a written decision about your application

l:] "You did not pass the second and final test of your ' ` English ability / » ` l knowledge of ~
" U.S. history and government You will not be rescheduled for another interview for this N-¢l()O. USCIS

will send you a written decision about your application

Your application has been recommended for approval.,'At this time, it . _ :

` A) ` ~ Congratulationsl y
appears that you have established your eligibility for naturalization If final approval is granted, you will be

' notified.when and where to report for the Oath Ceremony. _

B) _ A decision cannot yet be made about your application

7 l lt is very important that your .
Notify USCIS if you change your address v
Corne to any scheduled interview '
.Sut)mit all requesteddocumentsv _ 7
Send any questions about this application in writing to
A-number, and a copy of this paper.
Go to any oath ceremony that you are scheduled to attend l
Noti@/ USCIS as soon as possiblein writing if you cannot come
ccrcmony. Include a copy of this paper anda copy of the`scheduling noticc.

\`\\\-

the officer named above.:v lnclude your full name:,

to any scheduled interview or oath

\'\

N.osz (Rev;izn,<i<))v

 

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4 Case 3:08-cv-OOO21-BD Document 1 Filed 01/04/08 Pa Dy 511 ~., c
`1§1344 (Rev. 10/06) CIVIL COVER SHEET § gsa § GDY% é g l m fit

The JS 44 civil cover s t c o ation contained herein neither replace nor supplement the filing and service of pleadin s or other papers as required by law, except as`

provided by 10 _ o c i proved by the Judicial Conference of the United States in Septernber 1974, is requir for the use o the Clerk of Court for the purpose

Of lnltiati.\'€!`e l 0 t. ( EE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
\

I~ (a) i>HAh~JTIFFs

HASAN HAJMOHAMMAD

DEFENDANTS

ANNE K. BARROWS, U.S. CITIZENSHIP AND IMMIGRATION
SERVICES DISTRICT DIREC'I`OR, ET. AL.

County of Residence of FirstListed Defendant
(IN U. .

NOTE: IN LAND COND
LAND INVOL

(b) County of Residence of First Listed Plaintiff 1251 1 5 §
(EXCEPT IN U.S. PLAINTIFF CASES)

 

 
 
 
  
 
 
  
  

 

(c) Attomey’s (Finn Name, Addwss, and reiephone Number)

ABDELHADI & ASSOCIATES, PC, 4144 N. CENTRAL EXPY., STE.
1210, DALLAS, TX 75204, (214) 219-8803

AttOmeyS (If Known)
HUSEIN A. A.BDELHAD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION u>lace an “X” in One Box Only) III. Cl 1 lZENSHIP OF PRIN
(For Diversity Cases Gnly)
13 1 U.s. Govemmem \J 3 Federai Quesn'on YrF DEF
Plainti§ (U.S, Govemment Not a Party) Citizen of'l'his State g l g 1 Incoxporated or Principal Place
of Business Io This State
>Ii 2 U.S. Govemment g 4 Diversity Citizeo of Another State \:l 2 [:] 2 lncorporated and Principal Place \:I 5 l:l 5
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Citizeo or Subject of a g 3 [:I 3 Foreign Nation ij 6 13 6
Foreign Country
IV. NATURE OF SUIT (Piace an “X" m one Box only)
CONTRACT TORTS lFORFElTURE/PENALTY l BANKRUPTC¥ OTHER S'I`ATUTES l
g 110 Insux'd.llce PERSONAL INJURY PERSONAL INJURY ij 610 Agric\llh.lre g 422 Appeal 28 USC 158 13 400 State Reapponiol\ment
ij 120 Man'ne [l 310 Airpiane 111 362 Personal Injury - ij 620 Orher Food & Dmg IJ 423 Wirhdrawal F_'| 410 Amiv-usr
g 130 Miller Act g 315 Airplaue Product Med, Malpractice g 625 Drug Related Seizure 28 USC 157 [:l 430 Banks and Banking
ij 140 Negon`able Instrument Liability |:I 365 Persona.l lnjury - of Property 21 USC 881 g 450 Commerce
\:I 150 Recovery of Overpayment [j 320 Assault, Libel & Product Liability [:I 630 Liquor Laws PRDPERTY RIGHTS [j 460 Depoxtation
& Enforcement ofJudgment Slander g 368 Asbestos Personal g 640 R.R. & Truck 820 Copyrights [:I 470 Racketeer Influenced and
|:l 151 Medicare Act ij 330 Federal Employers’ Iujury Product |:l 650 Airline Regs. ij 830 Patent Con'upt Organizations
g 152 Recovery of Defaulted Liability Liability ij 660 Occupatiooal l'_'l 840 Trademark ij 480 Consumer Credit
Student Loans ij 340 Marine PERSONAL PROPERTY Safety/Hea.lth 13 490 Cable/Sat TV
(Excl. Veterans) I:I 345 Marine Product ij 370 Other Fraud l:l 690 Other g 810 Selective Service
|:I 153 Recovery of Overpayment Liability g 371 Truth in bending LA§T)-R lSOCIAL SECILRITY ij 850 Securities/Commodities/
of Veteran’s Benefits [j 350 Motor Vehicle |:I 380 Other Personal ij 710 Fair Labor Standards ij 861 HIA (1395&`) Exchange
|:l 160 Stockholders’ Suits |:I 355 Motor Vehicle Property Damage Act g 862 Black Luog (923) |:l 875 Customer Cha]lenge
g 190 Oth€r Contrdct Product Liability l:l 385 Property Damage ij 720 Labor/Mgmt. Relations g 863 DIWC/DIWW (405(g)) 12 USC 3410
g 195 Contract Product Liability |:] 360 Other Personal Product Liability ij 730 Labor/Mgmt.Reporting I___l 864 SSID Title XVI IQ 890 Other Statutory Actions
\:l 196 Franchise Injury & Disclosure Act [:l 865 RSI (405(g)) g 891 Agn'cultural Acts
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS g 740 Railway Labor Act FEDERAL TAX SUITS [:l 892 Economic Stahilization AC(
\___I 210 Land Condemoation |:l 441 Vot-ing |:l 510 Motions to Vacate |:I 790 Other Labor Litigation l 870 Taxes (U.S. Plaintiff g 893 Environmental Matters
\J 220 Foreclosuxc I:I 442 Employment Seutence I:l 791 Empl. Ret. lnc. or Defendant) ij 894 Energy Allocation Act
ij 230 Rent Lease & Ejectment l:l 443 Housing Habeas Corpus: Security Act ij 871 IRS-Third Party l:l 895 Freedom of Informan`on
[:I 240 Torts to Land Accommodations \:l 530 General 26 USC 7609 Act
ij 245 'l`ort Product Liability ij 444 Welfare l___l 535 Dwth Penalty g 900 Appal of Fee Determination
g 290 All Other Real Property ij 445 Amer. w/Disabih'tias - g 540 Mandamus & Other Under Equal Access
Employment ij 550 Civil Rights to Justice
|:l 446 Amer. w/Disabilities - I'_'I 555 Prison Coodition \:l 950 Constitutionality of
Other State Statutes
IZI 440 other civil nights
A cal to Distnct
V. ORIGIN (Pia¢e an “"X in One Box Onl Transferred from Jlllgf);€ from
1 Original |:l 2 Removed from 3 Remanded from l:l 4 Reinstated or l:l 5 another district |:l 6 Multidistn'ct ij 7 Magistrate
Proceeding State Court Appellatc Court Reopened (specify) Litigation Judgment

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional stamtes unless diversity):
VI~ CAUSE OF ACTTON B,iefdescription efcause; PErmoN ron HEARlNG oN NATURALIZAUON UNDER 8 U.s.c. sec_ 1447(b)

 

 

 

 

 

VII. REQUESTED IN \J cHECK ir~ mrs rs A cLAss AcnoN DEMAND s cHECK YEs only if demanded in complaint
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: |:I Yes \:INo
VIII. RELATED CASE(S) _ '
PENDING oR cLosED (See ”‘S"“°"°“S’~ JUDGE DocKEr NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECElP'l` # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 

